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have some anxiety about what to do here. Let me make your decision easier for you,

I think you should, Vince, how do you say it, bring it on. Frankly, for all the “push” Ultimate Warrior
got in sports entertainment, the constant negative criticism and ridicule, by you and the parasites in the
industry who only survive by sucking your blood, has been an even bigger “push” for everything I’ve
gone on to co outside the ring, It’s promotion I could never afford -- and for it, I thank you. Eventually
people find their way to the truth. It’s sorta how life, for it to be effective, really works -- find the truth
and follow it. I don’t know why you and your sidekicks, Vince, continue to perpetuate the falsehoods
about me and my life -- it hasn't worked and it won’t. Maybe, it's just because you are always doing a
“work and can no longer separate reality from fantasy. Of course, you benefit from the fact that we are
living in times where truth and reality don’t matter much. But eventually everyone is subject to reality
checks, and once they have the truth here, the lies you spread about me say more about the malicious
and vindictive kook you are than they do about any personal flaws I may have. For those who fall for the
bullshit, there are just as many who don’t. You, your sycophants and the audience you cater to right
now, Vince, maybe don’t want to get it about me and who I am today — but plenty of others do. And
I've been proving this for quite some time. Whoever is doing your investigative work is doing a very
sloppy job. You believe the fantasies you want, Vince, but it’s been a really long time since I subsidized
ny living using any of the dimes I earned working for you. I'm certainly an advocate of having a strong

ego, but this idea of yours that I am somehow indebted to you or need you to ‘do my life’ is way over
the top.

You, Vince, are the one living in a bubble and I simply don’t have one you can pop. There are almost
300 million people just in United States, hundreds. of millions more in the world. Every week your TV
draws in, what, 5-6 million viewers? Just how many millions, scratch that, thousands, hundreds, do you
think I need to get it about who I am and what I am about today outside the ring for me to provide a
substantive and prosperous life for myself, be productive and happy in what I do? Your game, Vince,
even for me who succeeded wildly at it, isn’t the only game in town. What is so difficult to understand
about my ‘getting on doing other things happily and successfully? You think a negative, destructive
portrayal will sever my lifeline, or that I will be traumatized by it in a way that I won't be able to go on
and have to come crawling back to you to rescue me, like everyone else has done? You are wrong,
Vinee. Your head is really up your ass. Mine has long been on my shoulders.

You want to ttle the Ultimate Warrior DVD “The Self Destruction of the Ultimate Warrior’? Great
idea. Whoever came up with it deserves 4 promotion. The way I see it, a way that your sycophants
obviously do not, if thinking for yourself, being independent and self-sufficient, discovering celebrity
and materiality, just for their own sake, are success defined in the shallowest, most indecent and self-
loathing terms; standing up for yourself, refusing to tolerate unethical, unprofessional treatment by the
ones you work with; fighting to right wrongs done ta you; having the confidence, courage, discipline
and self-respect to move on and evolve into something more mature and greater at each successive stage
of your life; being unashamed to be proud of new accomplishments beyond even what you’ve
previously done that were great and successful -- if all these actions are self destructive in your book,
then, I think, being labeled self-destructive by you is is. a badge of honor and I wear it with pride.
Frankly, the world would be a much safer, saner place if more people were brave enough to pursue like-
destructive courses.

The greater distance I can create between myself and those other Legend talent you evidently consider
having lead constructive courses is exactly what I am looking for. [ guess I’m just not cut out to be
constructive in the way you define it. Whore out yourself and your family for an unimportant, superficial
cheap-ass celebrity long after you've had enough; blame drugs, other abuses and addictions and just
simple life responsibilities for failing at life time and time again; bring kids into the world and then
desert them entirely or raise them to be ‘useful idiots’; frequent rehab visits or OD ina budget hotel

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room over a vile, sorry-ass bag of dirty street drugs; be an unequivocal hypocrite, be on the record
saying one thing but always rationalize doing another; let your body, mind and spirit go to hell; become
a born again Christian, hock it until no one buys the con anymore, and then crawl back to you and
hypocritically participate in WWE's debauched, carnal storylines; talk tough but never take a stand and
back it up; despise McMahon when you don’t have a contract, lick his ass when you do; know no
principles and have no integrity; refuse to behave grown up even when you are; be afraid to challenge
yourself to do other things than what you've already succeeded at; accept that you are only a pro-
wrestler and it’s all you'll ever be able to do, and any success in the business you have is never because
of anything you contribute and eam, but only something that McMahon has the power to grant; and
finally, most of all, craw] back to you, King McMahon, for a final bout of self-degradation. Hell, Vince,
that’s a lot of feebleminded, lazy work to be constructive. I’d just rather do the harder thing. I think the
reward is greater. Call me a kook. That's right, I guess you intend to, Vince, your adulterated brand of
approval! and respect I cannot find the self disgust to lower myself to. I make no apologies.

A few years ago you publicly boasted about how you loved confrontation and competition. You do --
but only with those who are intimidated by you to begin with or you already know you can beat. The
facade of the company you've built says success, but reality is that, today, it’s like all other big, stuffy,
overcrowded corporate warehouses -- sluggish, boring and complacent. You piggybacked on the
degenerative cultural tum, you didn’t create it. And you rode that jackass hard, but like all that comes
and goes in cycles, the provocative and risqué you so depended on has reached its spent end, Literally,
there are no more tiny, little adolescent boners to exploit. All the loads have been blown. Enough "soap
opera” and "porn" and "gangsta hip-hop and rap" everyone says -- people just want to take a bath, feel
decent and have their wrestling be fun again. Yes, cutting edge -- but fun. High spirited and positive.
Why does every single storyline in entertainment today have to be about what is the worst in people, like
you're taking a 3 am walk in the foulest, most criminal alley on this planet while the sewer system is
backed up flooding the streets and human-size rats are pissing and spitting upon you from both sides?
You once told great stories, Vince. What happened to you? WWE's creative direction today simply tells
people that it is a company filled with perverts and exhibitionists who are derangingly starved for
genuine human interaction. Social misfits stimulated and inspired only by ideas they can see through
peepholes. The only thing really left to do to push your overmasturbated, seedy creative envelope more
open, since you obviously intend to keep beating limp meat, would be for you to actually televise the
fucking you’ve been doing to so many over just as many years. Just as you worked so hard to do, you
are now surrounded by ass-licking sycophants and mostly slavish, non-thinking, sunken chest talent, but
the consequence is that you are bumt out, slow and stuck, have no new ideas and would have a heart
attack if true passion, real manliness and legitimate challenge walked into one of the pyrogenic-laden
arenas you use to entertain your equally passionless, mindless and sycophantic audiences,

Whether or not you put out a negative portrayal, Vince, the evidence is in -- you failed. I beat you. I
broke the silence you’ve been harboring all these years. I drove your insecurities to break out in a rage
and reveal to the world your greatest regret and failure.

Your ereatest regret, Vince, is that you weren’t secure enough with yourself and your own
accomplishments to handle both the Ultimate Warrior, as a gimmick, and Warrior, as the person, It
could have been the biggest thing you ever achieved. You knew it years ago and you know it now and it
eats away at you day after day. Linda knew it, too, but she couldn’t keep you from screwing it up. Even
your son Shane knew it. The best nut you ever gol, Vince, was from the Ultimate Warrior character. |
know it. You know it. Linda knew that, too -- she wrote notes about it on notes to me all the time in
1996.

Ever since the Ultimate Warrior, every talent there has ever been has tried to replicate the one trait that
made the Ultimate Warrior the Ultimate Warrior, makes the Ultimate Warrior standout from all other

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personas even today, A hint? It’s not the wrestling technique and technical ring work, stupid, It’s the
real intensity, the obvious inner energy and passion I held personally. Making people feel alive and that
giving it your all is worth doing. Even your own son-in-law tried his best to create his own intense
image using Ultimate Warrior as a model. Batista doesn't wildly, physically explode and shake the ropes
because if is something Batista would do-- he does it because IT IS WHAT ULTIMATE WARRIOR
DOES, None of them though, Vince, have captured the professional enduring appeal like The Ultimate
Warrior persona or the personal staying power like the person, Warrior. They don't because their
intensity is part-time, only half-ass and skin deep. Whereas mine runs all the way through, right down to
the bone -- it never goes off or away. Out of the ring, no gear, no facepaint, entirely out of the business -
- jt remains the same in everything I do. Even now as I write this -- that intensity, MY INTENSITY, is
coming right through the computer screen and the reader feels it.

Ultimate Warrior was simply a gimmick that made me realize Warrior, as a person, wasn't one. The
Warrior intensity-for-life element of Ultimate Warrior was real. You got that and it inspired you, it
really jacked you up -- until I became more than the young, initially naive kid who first came to work
for you. Until my mind started becoming as powerful as my physical presence. Then, both Warriors
together became a potential success too intimidating for you to handle. Always on the hunt for
challenge, it was the inevitable next level for me, But you, Vince, didn't have the guts to go there. As
big as 2 man and success you were in some ways, in others that counted so importantly, you simply
wanted to stay safe remaining the scared little kid who could throw his toys.

You and your wife Linda have been telling everyone for years that you only give your fans what they
want. Why didn’t you then? Tell the fans who pop bigger for Ultimate Warmor than anybody else when
he appears on that big monster screen at the arenas, Vince, why you didn’t then? You didn’t because you
didn’t have the courage to rise up to the complete Warrior challenge.

The failure that eats away at you the most, Vince? Sadly, it’s not the missed opportunity as it should be.
No, it is that you don’t OWN me like you do all the others. That you never emasculated me, turned my
balls into squirrel nuts like you’ve done to all the others.

And, Vince -- you never will, This Warrior won’t crawl.

Look, Vinee, let me end by telling you that I forgive you. I’m serious. | know you’ll read this and I just
want you to know, I am not bitter about how things ended up. My life has moved on, and ultimately it is
better and more challenging. What we were as people back then, you and I -- hey, it’s what made it
work. So, I would advise you to give your own regret a rest. A lot of time has passed, for one of us a lot
of growing has been done. One can't be gotten back and the other can’t be changed.

I will always appreciate the opportunity WWF provided. I will never forget the experiences | had while I
was there (or all the work, sacrifices and effort made). Thank you for those, I mean it.

All of us are bits and pieces of all things good, bad and ugly. Big as both of our egos are, you and I
aren't immune to being a mixture of all three either, Forgetting this makes it really difficult for strong
personalities in disagreement to give credit where credit is due. When it comes to our opinions of one
another, we both judge harshly. Maybe we should take a moment though to recognize what we forget.
don’t think you can find an instance of me on the record dismissing your company’s contribution. If 1
have, or if you believe | have, let me be clear right now — Ultimate Warrior never would have had the
incredible existence that he did if it wasn’t that you had your own dream to build the company that you
did. But neither, Vince, would HE if there had not been ME.

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You and I, Vince, once had too many explosive personality traits in common. It was inevitable that the
intensity of those would cause us to one day clash, just like we did. In fact, it is the intensity of the clash
that causes both us to likely not hear the unspoken respect for the good things we did together, but only
the bad and ugly. We should both be proud of The Ultimate Warrior persona, I am. You should step
back and be proud, too.

In this DVD you should just let Ultimate Warrior be what he, in truth, was. Incredibly positive and one
ofa kind. He captured something unique in people and the bond that was built is unbreakable. Pursuing
the negative will never, ever change that. Of course, if this wisdom doesn’t work for you, Vince, we can
Just stick with you making an ass of yourself, and kissing mine, While you are down there notice. aeain
the real balls: c=

Good Bye, Vince

Warrior

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